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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. RICHARD K. EATON, JUDGE
__________________________________________
UNITED STATES OF AMERICA,                  :
                                           :
                        Plaintiff,         :                      Court No. 20-00175
                                           :
                  v.                       :
                                           :
AMERICAN HOME ASSURANCE COMPANY, :
                                           :
                        Defendant.         :
__________________________________________ :

                                NOTICE OF APPEAL

       Notice is hereby given that the United States of America, plaintiff in the above-

captioned action, hereby appeals to the United States Court of Appeals for the Federal

Circuit from the final judgment and opinion in Slip Op. 23-118 entered in this action on

August 18, 2023, and its public version issued August 22, 2023.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             PATRICIA M. McCARTHY
                                             Director

                              By:            /s/ Justin R. Miller
                                             JUSTIN R. MILLER
                                             Attorney-In-Charge
                                             International Trade Field Office

                                             /s/ Beverly A. Farrell
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Dated: October 16, 2023                      Attorneys for Plaintiff
